                                 OPINION
{¶ 1} Daniel L. Brown is purportedly appealing from the denial by the trial court of his motion to vacate the court's judgment entered on January 2, 2003, sustaining the motion of the defendants for summary judgment. Brown filed his notice of appeal on March 25, 2003, purportedly appealing from the trial court's entry on March 4, 2003, overruling his motion to vacate the January judgment. However, Brown's brief on appeal and all five of his assignments of error make it clear that he is actually attempting to appeal from the summary judgment decision. As such, his appeal is untimely, and we must therefore dismiss it.
APPEAL DISMISSED.
WOLFF, J. and GRADY, J., concur.